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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                               Chapter 11


 FTX TRADING LTD., et al.,                            Case No. 22-11068 (JTD)

           Debtors.
                                                      (Jointly Administered)




 FTX TRADING LTD. and MACLAURIN
 INVESTMENTS LTD.,
                                                      Adv. Pro. No. 23-50437 (JTD)
 Plaintiffs,

                       -against-

 LOREM IPSUM UG, PATRICK GRUHN,
 ROBIN MATZKE, and BRANDON
 WILLIAMS,

 Defendants.



    ORDER GRANTING MOTION FOR PROTECTIVE ORDER STAYING DISCOVERY

          Upon the Motion For A Protective Order of Defendant, Brandon Williams, seeking a stay

discovery in the above Adversary Proceeding until the issue of the Court’s subject matter

jurisdiction has been resolved and the Court having determined that good cause for the issuance

of a protective order staying discovery has been shown in that such discovery will potentially be

both excessively burdensome and inordinately expensive, it is hereby ordered by the United

States Bankruptcy Court for the District of Delaware that the motion is granted and all discovery

in the Adversary Proceeding is stayed until such time as the issue of the Court’s subject matter

jurisdiction has been resolved, with discovery to commence only if the motions seeking
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dismissal on the basis of a lack of subject matter jurisdiction are denied and then with discovery

to recommence and with all discovery deadlines extended for 30 days from the date the motions

to dismiss for lack of subject matter jurisdiction are denied or such other period as the parties

may agree upon.




Date: _______________                        _________________________________________
                                             JOHN T. DORSEY, JUDGE




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